                                           Case 8:22-cv-01790-CJC-KES Document 1 Filed 09/29/22 Page 1 of 67 Page ID #:1



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                                       5 HEALTHCARE, LLC, SUN MAR
                                           MANAGEMENT SERVICES, IRVING
                                       6 BAUMAN, FRANK JOHNSON, ELI
                                           MARMUR, and WILLIAM PRESNELL
                                       7

                                       8                       UNITED STATES DISTRICT COURT
                                       9
                                                   CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
                                      10

                                      11     GAIL PARRISH by and through              CASE NO.
                                             Successor in Interest, Monica Parrish,
                                      12
                                                                  Plaintiff,          (Orange County Superior Court Case
                                      13
                                             vs.                                      No. 30-2022-01276234-CU-MC-CXC)
            CORPORATE TRIAL LAWYERS
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                                      14

                                      15                                              NOTICE OF REMOVAL OF CIVIL
                                             GORDON LANE HEALTHCARE,                  ACTION TO UNITED STATES
                                      16     LLC; SUN MAR MANAGEMENT                  DISTRICT COURT UNDER THE
                                      17
                                             SERVICES; IRVING BAUMAN;                 CLASS ACTION FAIRNESS ACT
                                             FRANK JOHNSON; ELI MARMUR;
                                      18     WILLIAM PRESNELL and DOES 1 –
                                             250, inclusive,                          Filed concurrently herewith:
                                      19                                              (1) Certification Of Interested
                                      20                                              Entities Or Persons Pursuant To
                                                                  Defendants.         Local Rule 7.1-1
                                      21
                                                                                      (2) Declaration of Olga Soto
                                      22                                              (3) Civil Case Cover Sheet
                                      23                                              (4) Notice to Clerk and Adverse
                                                                                      Parties
                                      24                                              (5) Proof of service
                                      25

                                      26
                                                                                      Action Filed: August 17, 2022

                                      27
                                                   Defendants Gordon Lane Healthcare, LLC, Sun Mar Management Services,

                                      28
                                           Irving Bauman, Frank Johnson, Eli Marmur,
                                                                               1     and William Presnell hereby give
                                              NOTICE OF REMOVAL OF CIVIL ACTION TO UNITED STATES DISTRICT COURT
                                                            UNDER THE CLASS ACTION FAIRNESS ACT
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                                       1 notice that they are removing the above captioned case, originally filed in the

                                       2 Superior Court of the State of California for the County of Orange, Case No. 30-

                                       3 2022-01276234-CU-MC-CXC, to the United States District Court for the Central

                                       4 District of California.      Defendants Gordon Lane Healthcare, LLC, Sun Mar
                                       5 Management Services, LLC, Irving Bauman, Frank Johnson, Eli Marmur, and

                                       6 William Presnell (collectively “Defendants”) remove the case pursuant to the Class

                                       7 Action Fairness Act of 2005 (“CAFA”) pursuant to 28 U.S.C. §§ 1332, 1441, 1446,

                                       8 and 1453, and state as follows:

                                       9      I.        BACKGROUND
                                      10           1.    On August 17, 2022 Plaintiff Gail Parrish, by and through Successor in
                                      11 Interest, Monica Parrish, (“Plaintiff”) filed a class action complaint in the Superior

                                      12 Court of California for the County of Orange, titled “GAIL PARRISH by and through

                                      13 Successor in Interest, Monica Parrish, Plaintiff v. GORDON LANE HEALTHCARE,
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                                      14 LLC; SUN MAR MANAGEMENT SERVICES; IRVING BAUMAN; FRANK

                                      15 JOHNSON; ELI MARMUR; WILLIAM PRESNELL and DOES 1 –250, inclusive,

                                      16 Defendants” Case No. 30-2022-01276234-CU-MC-CXC. The Complaint asserts

                                      17 two causes of action for 1) Violation of the Consumer Legal Remedies Act (Civ.

                                      18 Code §1750, et seq.) and 2) Violations of Resident Rights (Health & Safety Code

                                      19 §1430(b)).

                                      20           2.    On August 30, 2022 each of the Defendants were served with a copy of
                                      21 the Civil Case Cover Sheet, Summons, Notice of Remote Appearance, Complaint,

                                      22 and Declaration of Monica Parrish As Successor In Interest To Gail Parrish,

                                      23 Pursuant to 28 USC § 1446(a), true and correct copies of all pleadings and orders

                                      24 served upon the Defendants are attached hereto as Exhibit A.

                                      25           3.    Subsequently, each of the Defendants were served with a Proof of
                                      26 Service of Summons. True and correct copies of these documents are included as

                                      27 part of Exhibit A attached hereto.

                                      28                                             2
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                                       1            4.     Defendants have not filed or received any pleadings other than the
                                       2 pleadings described as Exhibits A in this action prior to the Notice of Removal.

                                       3      II.        TIMELINESS OF REMOVAL
                                       4            5.     Pursuant to 28 U.S.C. § 1446(b), the period for removal does not expire
                                       5 until thirty days after service of the complaint. Murphy Bros. v. Michetti Pipe

                                       6 Stringing, Inc. (1999) 526 U.S. 344.

                                       7            6.     Defendants' Notice of Removal is timely because it is filed within 30
                                       8 days of the date each of the Defendants were served with the Summons and

                                       9 Complaint in this action (August 30, 2022).

                                      10      III.       REMOVAL UNDER THE CLASS ACTION FAIRNESS ACT
                                      11                 (“CAFA”)
                                      12            7.     Under the CAFA, district courts have original jurisdiction for class
                                      13 actions “if [1] the class has more than 100 members, [2] the parties are minimally
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                                      14 diverse, and [3] the amount in controversy exceeds $5 million.” Dart Cherokee

                                      15 Basin Operating Co., LLC v. Owens (2014) 135 S. Ct. 547, 552 (citing 28 U.S.C. §

                                      16 1332(d)(2), (5)(B)).

                                      17                 A. The Class Action Includes More Than 100 Putative Class
                                      18                   Members
                                      19            8.     A removal under CAFA requires at least 100 members in a proposed
                                      20 class. See 28 U.S.C. § 1332(d)(5)(B) (providing that CAFA jurisdiction does not

                                      21 apply to any class action in which “the number of members of all proposed plaintiff

                                      22 classes in the aggregate is less than 100”).

                                      23            9.     Here, Plaintiff defines the three proposed classes to include 1) all
                                      24 persons who resided in (or continue to reside in) the California skilled nursing

                                      25 facility GORDON LANE HEALTHCARE LLC within the three years prior to the

                                      26 filing of the Complaint wherein the Defendants were reimbursed for services by

                                      27 private pay and/or privately acquired insurance and/or any HMO or PPO; 2) all

                                      28                                               3
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                                       1 persons who resided in (or continue to reside in) the California skilled nursing

                                       2 facility GORDON LANE HEALTHCARE LLC within the three years prior to the

                                       3 filing of the Complaint; and 3) all persons who resided in (or continue to reside in)

                                       4 the California skilled nursing facility GORDON LANE HEALTHCARE LLC

                                       5 within the three years prior to the filing of the Complaint regardless of the manner

                                       6 in which the Defendants were reimbursed for services. (Complaint ¶1). Plaintiff’s

                                       7 Complaint also alleges, “On information and belief those class members number

                                       8 more than three thousand (3000).” (Complaint ¶ 10).

                                       9         10.     GORDON LANE HEALTHCARE LLC’s skilled nursing facility
                                      10 presently has 94 residents. Declaration of Olga Soto (hereafter “Soto Dec.”) at ¶3.

                                      11 As noted above, Plaintiff’s proposed classes include all persons presently residing

                                      12 in GORDON LANE HEALTHCARE LLC’s skilled nursing facility. (Complaint

                                      13 ¶1).
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                                      14         11.     Over the past three years there have been a total of 1,142 individuals
                                      15 who have been residents at GORDON LANE HEALTHCARE LLC’s skilled

                                      16 nursing facility. Soto Dec. at ¶4. Plaintiff’s proposed classes include all persons

                                      17 who resided in GORDON LANE HEALTHCARE LLC’s skilled nursing facility

                                      18 within the three years prior to the filing of the Complaint. (Complaint ¶1).

                                      19         12.      Based on the proposed class definitions, the fact that there are presently
                                      20 94 persons residing in GORDON LANE HEALTHCARE LLC’s skilled nursing

                                      21 facility (Soto Dec. at ¶3), the fact that there have been 1,142 residents at GORDON

                                      22 LANE HEALTHCARE LLC’s skilled nursing facility over the past three years (Soto

                                      23 Dec. at ¶4), and Plaintiff’s “belief” that those class members number more than three

                                      24 thousand, there is no question that the size of the proposed class far exceeds the

                                      25 minimum threshold of 100 members under CAFA.

                                      26               B. The Parties Are Minimally Diverse
                                      27         13.     Under 28 U.S.C. § 1332(d)(2)(A), CAFA requires only minimal
                                      28                                               4
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                                       1 diversity for the purpose of establishing federal jurisdiction-that is, at least one

                                       2 purported class member must be a citizen of a state different than any named

                                       3 defendant. 28 U.S.C. § 1332(d)(2)(A) (“any member of a class of plaintiffs is a

                                       4 citizen of a State different from any defendant”).

                                       5         14.    A party's citizenship is determined at the time the lawsuit was filed. In
                                       6 re Digimarc Corp. Derivative Litig., 549 F.3d 1223, 1236 (9th Cir. 2008) (“[T]he

                                       7 jurisdiction of the court depends upon the state of things at the time of the action

                                       8 [was] brought.”).

                                       9         15.   For diversity purposes, a natural person's state citizenship is
                                      10 determined by that person's domicile-i.e., “[one's] permanent home, where [that

                                      11 person] resides with the intention to remain or to which [that person] intends to

                                      12 return.” Kanter v. Warner-Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001);

                                      13 Armstrong v. Church of Scientology Int'l, 243 F.3d 546, 546 (9th Cir. 2000) (“For
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                                      14 purposes of diversity jurisdiction, an individual is a citizen of his or her state of

                                      15 domicile, which is determined at the time the lawsuit is filed”).

                                      16         16.   Gordon Lane Healthcare, LLC is a California limited liability company.
                                      17 See, https://bizfileonline.sos.ca.gov/search/business.

                                      18         17.   Sun Mar Management Services is a California corporation.             See,
                                      19 https://bizfileonline.sos.ca.gov/search/business.

                                      20         18.   There is currently one patient in Gordon Lane Healthcare, LLC’s
                                      21 skilled nursing facility who is a resident of the State of Ohio and who intends to

                                      22 return to Ohio upon their discharge from Gordon Lane Healthcare, LLC’s skilled

                                      23 nursing facility. Soto Dec. at ¶5. Additionally, over the past three years Gordon

                                      24 Lane Healthcare, LLC’s skilled nursing facility has had other patients who were not

                                      25 residents of the State of California. Soto Dec. at ¶5.

                                      26         19.   Accordingly, at least one member of the putative class is a citizen of a
                                      27 state different from at least one of the named defendants. As a result, diversity

                                      28                                            5
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                                       1 jurisdiction exists under CAFA. 28 U.S.C. § 1332(d)(2)(A) (requiring only “minimal

                                       2 diversity” under which “any member of a class of plaintiffs is a citizen of a State

                                       3 different from any Defendant”).

                                       4         C. The Amount In Controversy Exceeds $5 Million
                                       5         20.    Under 28 U.S.C. § 1332(d)(2), “district courts shall have original
                                       6 jurisdiction of any civil action in which the matter in controversy exceeds the sum

                                       7 or value of $5,000,000, exclusive of interest and costs[.]” Under CAFA, the claims

                                       8 of the individual members in a class action are aggregated to determine if the amount

                                       9 in controversy exceeds the sum or value of $5,000,000. 28 U.S.C. § 1332(d)(6).

                                      10         21.   In addition, Congress intended for federal jurisdiction to be appropriate
                                      11 under CAFA “if the value of the matter in litigation exceeds $5,000,000 either from

                                      12 the viewpoint of the plaintiff or the viewpoint of the defendant, and regardless of the

                                      13 type of relief sought (e.g., damages, injunctive relief, or declaratory relief).” Senate
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                                      14 Judiciary Committee Report, S. Rep. No. 109-14, at 42 (2005), reprinted in 2005

                                      15 U.S.C.C.A.N. 3, 40.

                                      16         22.   To satisfy this standard, the “defendants' notice of removal need include
                                      17 only a plausible allegation that the amount in controversy exceeds the jurisdictional

                                      18 threshold.” Dart Cherokee Basin Operating Co., LLC, supra, 135 S. Ct. at 554.

                                      19         23.    The burden of establishing the jurisdictional threshold “is not daunting,
                                      20 as courts recognize that under this standard, a removing defendant is not obligated

                                      21 to research, state, and prove the plaintiff's claims for damages.” Korn v. Polo Ralph

                                      22 Lauren Corp., 536 F. Supp. 2d 1199, 1204-05 (E.D. Cal. 2008) (internal quotations

                                      23 omitted); see also Valdez v. Allstate Ins. Co., 372 F.3d 1115, 1117 (9th Cir. 2004)

                                      24 (“the parties need not predict the trier of fact's eventual award with one hundred

                                      25 percent accuracy”).

                                      26         24.   For purposes of ascertaining the amount in controversy, “the court must
                                      27 accept as true plaintiffs allegations as plead in the Complaint and assume that

                                      28                                             6
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                                       1 plaintiff will prove liability and recover the damages alleged.” Muniz v. Pilot Travel

                                       2 Ctrs. LLC, 2007 WL 1302504, at *3 (E.D. Cal. May 1, 2007).

                                       3         25.   If a plaintiff asserts statutory violations, the court must assume that the
                                       4 violation rate is 100% unless the plaintiff specifically alleges otherwise.         See,
                                       5 Caterpillar, Inc. v. Williams, 482 U.S. 386, 392 (1987)); Ritenour v. Carrington

                                       6 Mortg. Servs. LLC, 228 F. Supp. 3d, 1025 1030 (C.D. Cal. 2017); Coleman v. Estes

                                       7 Express Lines, Inc., 730 F. Supp. 2d 1141, 1149 (C.D. Cal. 2010).

                                       8         26.   Plaintiff’s Complaint alleges that the class members number more than
                                       9 three thousand (3000). (Complaint ¶ 10).

                                      10         27.   Plaintiff’s Complaint asserts statutory violations of Civil Code
                                      11 §1780(b) which provide for a $5,000 civil penalty for each class member.

                                      12 (Complaint, Prayer at ¶6). There is nothing in Plaintiff’s Complaint which alleges

                                      13 the violation rate is less than 100%.
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                                      14         28.   Three thousand proposed class members multiplied by just the $5,000
                                      15 civil penalty sought for each class member pursuant to Civil Code §1780(b) yields

                                      16 an amount in controversy of at least $15 million.

                                      17         29.   Beyond these statutory violations Plaintiff also seeks attorneys’ fees
                                      18 and costs, statutory damages and penalties pursuant to Health & Safety Code

                                      19 §1430(b), actual damages, punitive damages, disgorgement, treble damages, and

                                      20 “such further relief as the Court may deem just and proper.”            (See Prayer in
                                      21 Complaint). For purposes of determining the amount in controversy, only “interest

                                      22 and costs” are excluded from the calculation. 28 U.S.C. § 1332. Therefore, the Court

                                      23 must consider the aggregate of general damages, special damages, punitive damages,

                                      24 and attorneys' fees. Galt G/S v. JSS Scandinavia, 142 F.3d 1150, 1156 (9th Cir.

                                      25 1998); Brady v. Mercedes-Benz USA, Inc., 243 F. Supp. 2d 1004, 1010-11 (N.D.

                                      26 Cal. 2002).

                                      27         30.   Although Defendants deny Plaintiff's allegations that he or the putative
                                      28                                             7
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                                       1 class are entitled to any relief for the above-mentioned claims, and accepting as true

                                       2 the allegations in the Complaint solely for purposes of this Notice of Removal, the

                                       3 amount in controversy in this matter clearly exceeds the $5 million threshold for

                                       4 removal under 28 U.S.C. § 1332(d).

                                       5         31.   Because the putative class includes at least 100 people, minimal
                                       6 diversity of citizenship exists, and the amount in controversy exceeds $5,000,000,

                                       7 this Court has original jurisdiction of this action pursuant to 28 U.S.C. § 1332(d)(2).

                                       8 This action is therefore a proper one for removal to this Court pursuant to 28 U.S.C.

                                       9 § 1441(a)

                                      10         32.   To the extent that Plaintiff has alleged any other claims for relief in the
                                      11 Complaint over which this Court would not have original jurisdiction under 28

                                      12 U.S.C. § 1332(d), the Court has supplemental jurisdiction over any such claims

                                      13 pursuant to 28 U.S.C. §1367(a).
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                                      14 IV. VENUE

                                      15         33.   Venue lies in the United States District Court for the Central District of
                                      16 California, pursuant to 28 U.S.C. §§ 1391(a), 1441, and 84(c). This action originally

                                      17 was brought in Orange County Superior Court of the State of California, which is

                                      18 located within the Central District of California. 28 U.S.C. § 84(c). Therefore, venue

                                      19 is proper because it is the “district and division embracing the place where such

                                      20 action is pending.” 28 U.S.C. § 1441(a). A true and correct copy of this Notice of

                                      21 Removal will be promptly served on Plaintiff and filed with the Clerk of the Orange

                                      22 County Superior Court of the State of California as required under 28 U.S.C. §

                                      23 1446(d).

                                      24 V. NOTICE TO STATE COURT AND TO PLAINTIFF

                                      25         34.   Defendants will give prompt notice of the filing of this Notice of
                                      26 Removal to Plaintiff and to the Clerk of the Superior Court of the State of California

                                      27 in the County of Orange.

                                      28                                             8
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                                       1 VI. CONCLUSION

                                       2         35.    Based on the foregoing, Defendants request that this action be
                                       3 removed from the Superior Court of the State of California for the County of Orange

                                       4 to the United States District Court for the Central District of California. If any

                                       5 question arises as to the propriety of removal of this action, Defendants respectfully

                                       6 request the opportunity to present a brief and oral argument in support of their

                                       7 argument that removal is proper.

                                       8

                                       9 Dated: September 29, 2022                 PETRULLO, APC
                                      10                                     By:       /s/ David B. Litt
                                                                                   JOHN PATRICK PETRULLO, ESQ.
                                      11
                                                                                   DAVID B. LITT, ESQ.
                                      12                                           Attorneys for Defendants GORDON LANE
                                                                                   HEALTHCARE, LLC, SUN MAR
                                      13
                                                                                   MANAGEMENT SERVICES, LLC,
            CORPORATE TRIAL LAWYERS
PETRULLO, APC
 EL SEGUNDO




                                      14                                           IRVING BAUMAN, FRANK JOHNSON,
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                                                                                   ELI MARMUR, and WILLIAM
                                                                                   PRESNELL
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      Case Electronically
30-2022-01276234-CU-MC-CXC
                          Filed by Superior Court of California, County of Orange, 09/01/2022 10:55:00 AM.
            8:22-cv-01790-CJC-KES
                                - ROA # 21 -Document       1 Filed 09/29/22
                                             DAVID H. YAMASAKI,                   PageBy
                                                                     Clerk of the Court 51E.ofefilinguser,
                                                                                                67 Page      ID #:51
                                                                                                           Deputy Clerk.

  ATTORNEY OR PARTY WITHOUTATIORNEY            lNam6. State gat nunber, and addtess)                                     FOR COUR| USE ONLY


 STEPHEN           M. GARCIA SBN 123338
 GARCIA,           ART I GLI ERE
 ONE I/,IORLD TRADE CENTER,                           SUITE 1950
 LONG BEACH, CA. 90831
             TELEPHoNE     No     562-276-521A                     FAxNo (opr,o,a,
  E MA L ADDRESS (Op,o,a,,
     ATToRNEY FoR rN6me)'         PLAINT I FF
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
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          CITY AND ZIP CODE      SANTA ANA,            CA. 9210I
                       ENTRAL
              ERANCH NAME
      PLAINTIFFiPETITIONER: GAI                L PARRISH                                                   CASE NUMBER


 DEFENDANT/RESPONDENTj GORDON                          LANE HEALTHCARE, LLC.                               3A 2A22-0I21623        4   -CU-MC-


                                   PROOF OF SERVICE OF SUMMONS

                                                  (Separate proof of seNice is required for each pady seNed.)

1.   At the time of service I was at least 18 years of age and not a party to this action.
2.   I served copies of:
     a        x
     b        x      complaint
     c               Alternative Dispute Resolution (ADR) package
     d. fx-l         Civil Case Cover Sheet (seved in complex cases only)
     e               cross-complaint
     f.       x      olhet (specity documents): NOT ICE OF REMOTE APPEARANCE; DECLARATION OF MONICA
                     PARISH AS SUCCESSOR TN INTEREST
3.   a. Party     served (specify name of pady as shown on documents seryed): IRVING BAUMAN

     b. f-l          Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and nol a person
                     under item 5b on whom substituted service was made) (specify name and relationship to the pafty named in ilem 3a)



4.   Addresswherethe party was served:                    6050       SATURN            ST.,   BREA, CA. 92821
5.   I served the patly (check proper box)
     a               by personal service. I personally delivered the documents listed in item 2 to the pa(y or person authorized to
                     receive service of process for the pany () on (date);                                 (2) al (time):
     b        x      by substituted service. On (date): I / 3A / 22 al(time)..72t45 PM I left the documents listed in item 2 with or
                     in the presence of (name and title or relationship to person indicated in item 3): ABIGAIL DUNCAN.
                     RECEPTIONlST ACCEPTED FOR IRVING BAUMAN
                     (1)      x     (business) a person at least 18 years of age apparently in charge at lhe office or usual place of business
                                    of the person to be served. I informed him or her of the general nature of the papers.

                     (2)            (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual
                                    place of abode of the party. I informed him or her of the general nature of the papers.
                     (3)             (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                                     addressofthe person to be served, other than a United States Postal Service post office box. linformed
                                     him or her of the general nature of the papers.
                     (4)      x      Ithereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served
                                     at the place where the copies were left (Code Civ. Proc., S 4'15.20). I mailed the documents on
                                     (date):8 / 31" /   22 from (clur CYPRESS                            or      a declaration of mailing is attached
                     (5)      x      I   attach a declaration of diligence stating actions taken first lo attempt personal service

Form Adoplod tor Mandalory Use
  Jud c alCo!nc of Califor.ra                                PROOF OF SERVICE OF SUMMONS                        I€sal          Code   olCiv Pr6edure   S   417 l0
POS 0r0 lR6v )anuary 1.2@7)
                                                                                                           SoluLYons
                                                                                                             Q Plus
             Case 8:22-cv-01790-CJC-KES Document 1 Filed 09/29/22 Page 52 of 67 Page ID #:52


     PLAINTIFF/PETITIONER:                   GAIL      PARRISH                                                      CASE NUMI]ER

                                                                                                                    3A-242 2-412162       3 4   -CU-MC-
DEFENDANT/RESPONDENT:GORDON                             LANE HEALTHCARE. LLC.

5.   c                    by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the
                          address shown in item 4, by firslclass mail, postage prepaid,
                          (1) on (dafe):                                               (2)'frcm (city):
                          (3)             with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed
                                          lo me. (Aftach completed Notice and Acknowledgement of Receipl.) (Code Civ. Proc., S 415.30.)
                          (4)             to an address outside California with return receipt requested. (Code Civ. Proc., S 4'15.40.)

     d                    by other means (specify means of seNice and authorizing code section)




                         Additional page describing service is attached
6.   The "Notice to the Person Served" (on the summons) was completed as follows
     a     x    as an individual defendant.
     b                    as the person sued under the ficlitious name of (specify)
     c                    as occupant.
     d                    On behalf of (speci&);
                          under the following Code of Civil Procedure section:
                                             4'16.10 (corporation)                            E      415.95   (business organization, form unknown)
                                             41 6.20 (defunct corporation)                    f_l    416.60   (minor)
                                             41  6.30 (joint stock company/associalion)       f_l    416.70   (ward or conservatee)
                                             4'1 6.40 (association or partnership)            f-.l   416.90   (authorized person)
                                             416.50 (public entity)                           E      415.46 (occupant)
                                                                                              E      other:

7.   Person who served papersi
     a. Name: TOM BLACK
     b. Address:                 6033
                      RONALD CIRCLE,                                  CYPRES   S   ,   cA. 90630
     c. Telephone number 562-591-4088
     d. The fee for service was:                  $ 65.00
     e. lam:
             (1)                  not a registered California process server.
             (2\                  exempt from registration under Business and Professions Code section 22350(b)
             (3)         x        registered California process server:
                                  (i)          owner           employee        X       independent contractor
                                  (ii)    Registration No.: 6089
                                  (iii)   County: ORANGE

8        x         I   declare under penalty of perjury under the laws of the State of California that lhe foregoing is true and correct.
               or
                   I   am a California sheriff or marshal and I certify that the foregoing is true and correct.

Date:B/3L/22

                                 TOM BIAC K
         (NAME OF PERSON WHO SERVEO PAPERS/SHERIFF            OR MARSHAL)                                                (s        RE)




POS410 [Rev January          ]   20071
                                                               PROOF OF SERVICE OF SUMMONS
         Case 8:22-cv-01790-CJC-KES Document 1 Filed 09/29/22 Page 53 of 67 Page ID #:53
                                                                                                                                        MC-030
ATTORNEY OR PARry WTHOUTATTORNEY ftuame, Slale Batnunbet, and add.ess)                                            FQR CAURf USE ONLY


  STEPHEN          M. GARClA SBN 123338
  GARCIA,   ART I GLI ERE
  ONE Ii]OR],D TRADE CENTER, SUITE 1950
  LONG BEACH, CA. 90831
           TELEPHONENO       562_2L6_521           A
E MAIL AoORESS   fopnora,
  ATORNI Y tOR ,rvamel
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
         STREETADDRESS       7OO     CIVIC       CENTER DRIVE WEST
         MAILINGAOORESS

        crryANDzrPcoDE       SANTA ANA,            CA. 92147
            ERANCI1   NAME   CENTRAL
          PLAINTIFF/PETITIONER:           GAIL      PARRISH

   DEFENDANT/RESPONDENTj GORDON                           LANE HEAI,THCARE. LL.

                                                                                                    CASE NUMBER

                                                 DECLAR,ATION                                        3A-2022-Al2T      623   4   -CU-MC-CXC


              I am and was on the date herein mentioned, over the age of 18
        years of age and not a party to the actj,on. I received the within
        process on AUGUST 23RD 2A22 and that after due and dilligent effort,
        I have been unable to effect personaL service on the within named.
               Name     :    IRVING       BAUMAN
                             3O5O SATURN ST., SUITE 201
                             BREA, CA. 92821

                 A.TT: 8/23/22       2:15 PM IRVING NOr IN.
                             8/24/22 10:10 AM IRVING NoT IN.
                             8/25/22 7 :40 PM HE IS NEVER IN THE OFFICE.
                             I /29   /22 3 :00 PM NoT IN.
                             I /30   /22 t 2:45 PM I SERVED
                                                       THE PAPERS TO                           ABIGAII       DUNCAN, RECPT.,
                             SHE ACCEPTED FOR IRVING BAUMAN.




    I   declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

    Date:8/31/22

                        TOM BI,ACK                                                                         hr.t7,fur/            -.
                                  (TYPE OR PRINT NA.ME)                                           (SIGNA     OF OE


                                                                                Attorney for         Plaintiff       Petitioner        Defendant
                                                                                Respondent           Other (SpecifyJ


  Form app.ov€d for Opr@nar Us€
                                                                    OECLARATION
                                                                                                                          l-esal
  Judrcral Counc o, Ca lomra                                                                                           SolutYons
  MC{30 [R6! January 1 2006]                                                                                             l{ PIus
      Case Electronically
30-2022-01276234-CU-MC-CXC
                          Filed by Superior Court of California, County of Orange, 09/01/2022 10:55:00 AM.
            8:22-cv-01790-CJC-KES
                                - ROA # 11 -Document       1 Filed 09/29/22
                                             DAVID H. YAMASAKI,                   PageBy
                                                                     Clerk of the Court 54E.ofefilinguser,
                                                                                                67 Page      ID #:54
                                                                                                           Deputy Clerk.

    ATTORNEY OR PARTY WITHOUI ATTORNEY lrvame, State Bat number. and add@ss)                                                 FOR COUR| USE ONLY


STEPHEN               M. GARCIA                 SBN 123338
GARCIA,               ART I GLl ERE
ONE WORLD TRADE CENTER,                                  SUITE 1950
I,ONG BEACH, CA. 90831
               TELEPHoNE        No   562-2L6-5214                 FAxNo rop@na,
    E MAIL ADDRESS foproral):
       ATToRNEY FoR /NaDe)r          PIAINT   I FF
    SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
             STREETADDRESS           7OO   CIVIC       CENTER DRlVE WEST
             MAILING ADDRESS
             crryANozrPcooE          SANTA ANA,          CA. 92147
                BRANCH    NAME       CENTRAl,
         PLAINTIFF/PETITIONER:             GAIL       PARRISH                                                 CASE NUMBER


DEFENDANT/RESPONDENT: GORDON                              LANE HEAI,THCARE, ILC.                               3A-2022-4121       623   4   -CU MC-


                                      PROOF OF SERVICE OF SUMMONS

                                                      (Separate proof of seNice is required for each pafty seNed.)

'1.     At the time of service I was at least 18 years of age and not a party to this action.
2.      lserved copies of:
        a      E         summons
        b      E         complaint
        c      E         Alternative Dispute Resolution (ADR) package
        d      E         Civil Case Cover Sheel (served in complex cases only)
               E         cross-complaint
        t.     TYI        olher (speci{y documentg: NOT I         CE OF REMOTE APPEARANCE;                  DECLARATION OE MONICA
                          PARISH AS SUCCESSOR                    IN   INTEREST
3.      a. Party served (specify name of pafty as shown on documents served):GORDON                       LANE HEALTHCARE, ],LC.

        b [xl            Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
                         under item 5b on whom substiluled service was made) (specify name and relationship to the parly named in item 3a)
              ABIGAIL DUNCAN/ AUTHORIZED                            PERSON TO ACCEPT SERVICE

4.      Address where the party was served:                 6050    SATURN        ST., BREA, CA. 92827
5       I served the party (check proper box)
        a. E             by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                         receive service of process for the party ('1)on (date):8/30/22                         (2) al (time): 72:45 PM
        b                 by substituted service. On (date):                    al (time):                I left the documents listed in item 2 with or
                          in the presence of (name and title or relationship to person indicated in item 3):

                          (1)           (business) a person at least 18 years of age apparently in charge at the ofiice or usual place of business
                                        of the person to be served. I informed him or her of the general nature of the papers.

                          (2)           (home) a competent member ofthe household (at least 18 years of age) at the dwelling house or usual
                                        place of abode of the party. I informed him or her of the general nature of the papers.
                          (3)           (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                                        address ofthe person to be served, other than a United States Postal Service post office box. I informed
                                        him or her of the general nalure of the papers.
                          (4)            I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served
                                         at the place where the copies were left (Code Civ. Proc., S 4'15.20). I mailed the documents on
                                         (date)                 ftor.r' (city)                                or     a declaration of mailing is attached

                          (5)            I attach a   declaration of diligence stating actions taken first to attempt personal service

Form Adopled lor lvandatory Use
     Judicia council ol Calilorni.                             PROOF OF SERVICE OF SUMMONS                     - l.esal
                                                                                                               :iolutfons'
                                                                                                                                    CodeorC vilPro@dure,   S   417 10

POS{10 [Rev January 1 2m7]
                                                                                                                  ?Plus
            Case 8:22-cv-01790-CJC-KES Document 1 Filed 09/29/22 Page 55 of 67 Page ID #:55


      PLAINTIFF/PETITIONER:             GAIL PARRISH                                                          I cnse rufureen
                                                                                                              Lo- rozr-0, z7 62 r4 -cu-Me -
 DEFENDANT/RESPONDENT:GORDON                            LANE HEALTHCARE, LI,C                                 I




 5. c. f l             by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the
                       address shown in item 4, by firslclass mail, postage prepaid,
                       (1) on (dat4:                                                      (2) ftom (city):
                       (3) f-l        with two copies of the Notrce     a   nd Acknowledgment of Receipt and a postage-paid return envelope addressed
                                      lo me. (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., S 415.30.)
                       (4) f_l        toan address outside California with return receipt requested. (Code Civ. Proc., S 415.40.)

      d. E             by other means (specl& rne ans of service and authoizing code section):




                      Additional page describing service is attached
6.    The "Notice to the Person Served" (on the summons) was completed as follows
      a.         as an individual defendant.
      b.               as the person sued under the flctitious name of (specl/ri
      c.               as occupant.
      d.       x       On behalf of (speclfy)j GORDON                 LANE HEALTHCARE,          LLC.
                          under the following Code of Civil Procedure section;
                                        4'16.10 (corporation)                                    415.95 (business organization, form unknown)
                                         41    6.20 (defunct corporation)                        416.60 (mino0
                                         41    6.30 (oint stock company/association)             416.70 (ward or conservatee)
                                         4'16.40 (association or partnership)                    416.90 (authorized person)
                                         4'1   6.50 (public entity)                              415.46 (occupant)
                                                                                            x    other: LLC
7.    Person who served papers
     a, Name: TOM BLACK
     b. Address:           6033 RONALD CIRCLE, CYPRESS, CA. 90630
     c. Telephone number: 562-597-4088
     d. The fee for service was: $ 65.00
     e. I am:
             (1)             not a registered California process server.
             (2)             exempt from registration under Business and Professions Code section 22350(b)
             (3)      x      registered California process server:
                             (i)         owner            employee            E
                                                                         independent contractor
                             (ii)    Registration No.: 6089
                             (iii)   County: ORANGE

8      x        I   declare under penalty of perjury under the laws of the State of California that the foregoing           is   true and correct
                or
I               lam a California sheriff or marshal and I certify that the foregoing             is true and correct.

Aate.B/37/22

                           TOM       BT A CK
           1NAME OF PERSON WHO SERVEO PAPERS/SHERIFF         OR MARSI]AL)                                                 ATURE   )




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                                                              PROOF OF SERVICE OF SUMMONS
      Case Electronically
30-2022-01276234-CU-MC-CXC
                          Filed by Superior Court of California, County of Orange, 09/01/2022 10:55:00 AM.
            8:22-cv-01790-CJC-KES
                                - ROA # 15 -Document       1 Filed 09/29/22
                                             DAVID H. YAMASAKI,                   PageBy
                                                                     Clerk of the Court 56E.ofefilinguser,
                                                                                                67 Page      ID #:56
                                                                                                           Deputy Clerk.

     ATTORNEY OR PARTY WTHOUT ATTORNEY (tuam6,         SlateBathunbet   and address)                                        FOR COUR| USE ONLY


     STEPHEN          M. GARCIA SBN 123338
     GARClA, ART IGL IERE
     ONE WORLD TRADE CENTER, SUITE 1950
     LONG BEACH, CA. 90831
                TELEPHoNE     No:    562-276-5210                FAxNo (opro,a/)
     E MAIL AOORESS (Oproral)l
       ArloRrll Y FoR        PLATN-I FF
                      'Na6er
     SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
              SIREETADDRESS          7OO   CIVlC      CENTER DRIVE WEST
             MAIL NGADORESS
             CITY AND ZIP CODE      SANTA ANA,         CA. 92101
                          CENTRAL
                         NAME

         PLAINTIFF/PETIIIONER: GAI             L     PARRI SH                                                 CASE NUMBER


     DEFENDANT/RESPONDENT: GORDON                       I,ANE HEALTHCARE. LLC.                                3A-2422-4121 623 4 -CU-MC-


                                      PROOF OF SERVICE OF SUMMONS

                                                    (Separate proof of service is required for each pafty served.)

 .
'1
        At the time of service I was at least 18 years of age and not a party to this action
2.      I served copies of:
        a       E       summons
        b       E       complaint
        c       E       Alternative Dispute Resolution (ADR) package
        d       E       Civil Case Cover Sheel (seNed in complex cases only)
        e       tl      cross-comPlaint
        l.      tx      olhet (specify documenlgr NOT          l CE OF REMOTE APPEARANCE; DECIARATION OF MONICA
                        PARISH AS SUCCESSOR IN INTEREST
3       a. Party served (specify name of pady as shown on documenfs seryed).'FRANK JOHNSON

        b. T_l          Person (other than the party in item 3a) served on behalf of an entity or as an authorized agenl (and not a person
                        under item 5b on whom substituted service was made) (specify name and relationship to the pafty named in item 3a)



4.      Address where the pa(ywas served:                 6050 SATURN ST., BREA/ CA. 92821
5.      I served     the paiy (check proper box)
        a               by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                        receive service of process for the pady (1\ on (date):                                 (2) al (time):
        b        x      by substituted service. On (date): I / 30 / 22 al (time): 12:45 PM I left the documents listed in item 2withor
                        in the presence of (rame and title or relationship to person indicated in item 3): AB I GAI L DUNCAN ,
                        RECEPTIONIST ACCEPTED FOR FRANK JOHNSON
                        (1)x (business) a person at least 18 years of age apparenlly             in charge at the oflice or usual place of business
                                       of the person to be served. I informed him or her of the general nature of the papers.

                        (2)            (home) a competent member ofthe household (at least '18 years of age) at the dwelling house or usual
                                       place of abode of the party. I informed him or her of the general nalure of the papers.
                        (3)            (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                                       address of the person to be served, otherthan a United States Postal Service post office box. linformed
                                       him or her of the general nature of the papers.
                        (4)    E       Ithereafter mailed (by Iirslclass, postage prepaid) copies of the documenls to the person to be served
                                       at the place where the copies were lefr (Code Civ. Proc., S 415.20). I majled the documents on
                                       (date):8 / 3l /22     from (cl9iCYPRESS                            or      a declaration of mailing is attached
                        (5)      x     I attach a   declaration of diligence stating actions taken Ilrst to attempt personal service

torm Adopled lor Mandalory Use
 Jud c arColnorol Carirorn a                                 PROOF OF SERVICE OF SUMMONS                        I€aaI             Code ot CivrlPr€edure   S417l0
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                                                                                                                Q    Plus
             Case 8:22-cv-01790-CJC-KES Document 1 Filed 09/29/22 Page 57 of 67 Page ID #:57


     PLAINTIFF/PETITIONER:             GAIL   PARRI SH                                                  CASE NUMBER

                                                                                                        30- 20 22-      0   r2162 I4   -CU   -MC-
DEFENDANT/RESPONOENTI GORDON                      LANE HEALTHCARE, ILC.

5.   c.               by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the
                      address shown in item 4, by flrslclass mail, postage prepaid,
                      (1) on (dafe):                                             (2) lrcm (city):
                      (3)           with two copies of lhe Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed
                                    tome. (Aftach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., S 415.30.)
                      (4)           to an address outside California with return receipt requested. (Code Civ. Proc.,   S   415.40.)

     d. f]            by other rneans (specify means of seNice and authoizing code section):




                     Additional page describing service is attached
6.   The "Notice to the Person Served" (on the summons) was completed as follows
     a     x as an individual defendant
     b. fl            as tne person sued under the fictitious n ame ot (specify)
     c                as occupant.
     d                On behalf of (speciul
                      under the following Code of Civil Procedure section
                                  E    416.10 (corporation)                        E      415.95 (business organization, form unknown)
                                  E    4'1 6.20 (defunct corporation)              E      416.60 (minor)
                                  E    41 6.30 (joint stock company/association)   E      416.70 (ward or conservatee)
                                  E    41 6.40 (association or partnership)        E      416.90 (authorized person)
                                  fl   416.50 (public entity)                      fl     4'15.46 (occupant)
                                                                                   fl     other:

7.   Person who served papers
     a. Name: TOM BLACK
     b. Address: 6033 RONALD CIRCLE, CYPRESS, CA. 90630
     c. Telephone number: 562 597 4088
     d. The fee for service was:          $ 65.    00
     e. lam:
             (1) f.-l       not a registered California process server.
             (2) E          exempt from registration under Business and Professions Code section 22350(b).
             (3) E          registered California process server:
                            (i) f]      owner I employee E independent contractor.
                            (ii)    Registration No.: 6089
                            (iii)   County: ORANGE

B        X     I   declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct
               or
I              I   am a California sheriff or marshal and I cerlify that the foregoing is true and correct.

Date      8/37/22

                         TOM BIACK
          1NAME OF PERSON WHO SERVEO PAPERS/SHERIFF     OR MARSHAL)                                            (st




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                                                        PROOF OF SERVICE OF SUMMONS
         Case 8:22-cv-01790-CJC-KES Document 1 Filed 09/29/22 Page 58 of 67 Page ID #:58
                                                                                                                                             MC-030
ATTORNEY OR PARry WTHOUTATTORNEY (Nane, State Bat nunbet, and address)                                                FOR COURT USE ONLY


  STEPHEN M. GARClA SBN 123338
  GARCIA, ARTIGLIERE
  ONE WORLD TRADE CENTER, SUITE 1950
  LONG BEACH, CA. 90831
      TELEPHoNE No 562-216- 5210
E MA|L AOORESS     lopibnall
  ATIORNEY FOR fNane)

  SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
         STREET AOORESS        7OO   CIVIC       CENTER DRIVE WEST
        MAILING ADDRESS

        crry   ANo ztP cooE    SANTA ANA/           cA.    92101
                      CENTRAL
               BRANCH NAME

          PLAINTIFF/PETITIoNER: GAI             L   PARRI SH

   DEFENDANT/RESPONDENT: GORDON                           LANE HEALTHCARE, LL.

                                                                                                       CASE NUMBER:

                                                 DECLARATION
                                                                                                       3A-2A22 4121623           4   -CU-MC-CXC


             I am and was on the date hereln mentioned, over the age of 18
       years of age and not a party to the action. I received the within
       process on AUGUST 23RD 2A22 and that after due and dilligent effort,
       I have been unable to effect personal service on the within named.
                 Name     :    FRANK JOHNSON
                               3050 SATURN ST., SUITE 201
                               BREA, CA. 92821

                               8/23/22 2:15 PM FRANK NOT HERE.
                               8/24/22 10:10 AM FRANK NoT IN.
                               e/25/22 1:40 PM HE IS NEVER IN THE oFFICE.
                               I /29/2 ) 3:00 PM Nor TN.
                               8/30/22 12:45 PM I SERVED THE PAPERS TO ABIGAIL                                DUNCAN,            RECPT . ,
                               SHE ACCEPTED FOR FRANK JOHNSON.




   I   declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct

   Datet       I /3L/22

                          TOM BLACK
                                 (IYPE OR PRINI NAIIIE)                                           (S                  c

                                                                               Attorney for   I        etaintit   f       Petitioner       Defendant
                                                                               Respondent              Other (Specif,


  Fom Approved lor Opt@nal Use
  JudEra C@nc or Caldohra
  MC{30 [Rev January 1. 2006]
                                                                    OECLARATION                                            S   offi,,,"
                                                                                                                                Q\Plus
      Case Electronically
30-2022-01276234-CU-MC-CXC
                          Filed by Superior Court of California, County of Orange, 09/01/2022 10:55:00 AM.
            8:22-cv-01790-CJC-KES
                                - ROA # 13 -Document       1 Filed 09/29/22
                                             DAVID H. YAMASAKI,                   PageBy
                                                                     Clerk of the Court 59E.ofefilinguser,
                                                                                                67 Page      ID #:59
                                                                                                           Deputy Clerk.

     AITORNEY OR PARry W1THOUT ATTORNEY (Name, Slale Bar number, and addrcss)                                                  FOR COURT USE ONLY


 STEPHEN               M. GARC]A                  SBN 123338
 GARCIA,               ART I GLI ERE
 ONE WORI,D TRADE CENTER,                                  SUITE 1950
 LONG BEACH, CA. 90831
                 TELEPHoNE       No   562-216-5214                  FAxNo roprona,
     E MAIL ADDRESS loprbrar:
        ATToRNEY FoR /Naae):          PLAINT I FF
     SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
                STREETAODRESS         7OO      CIV]C      CENTER DRIVE WEST
             MAILING AOORESS:

             crryANDzrpcooE.          SANTA ANA, CA. 92147
                  BRANCH  CENTRAL
                           NAME
          PLAINTIFF/PETITIONER: GAI               L      PARRI SH                                                CASE NUMBER


     DEFENDANT/RESPONDENT: GORDON                           ],ANE HEALTHCARE, L],C.                              30-2422-0721 623 4 -CU-MC-


                                          PROOF OF SERVICE OF SUMMONS

                                                        (Separate proof of service is required for each pafty seNed.)

 .
'1
        At the time of service I was at least 18 years of age and not a party to this action
2.       lserved copies of:
        a.       E         summons
        b.       wt        complaint
        c.       E         Alternative Dispute Resolution (ADR) package
        d.                 Civil Case Cover Sheel (seNed in complex cases only)
                 tl        cross-complaint
        t.       E         olhet (specify documertr: NOT I          CE OF REMOTE APPEARANCE;                  DECIARATlON OF MONICA
                           PAR]SH AS SUCCESSOR                      IN   INTEREST
3.      a. Party served (specify name of patv as shown on documents                     seNed):ELI     MARMUR


        b. f_l             Person (other lhan the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
                           under item 5b on whom substituted service was made) (specify name and relationship to the pady named in item 3a)



4.       Address where the party was served:                  6050    SATURN         ST., BREA, CA. 92821
5.       Iserved the patly (check proper box)
        a           by peEonal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                    receive service of process forthe party (1) on (date):                                (2\ at(time):
         b         x       by substituted service. Qn (date): I / 30 / 22 al (time): 12:45 PM I left the documents listed in item2wilhor
                           in the presence of (name and title or relationship to person indicated in item 3): ABIGAIL DUNCAN,
                            RECEPTlONIST ACCEPTED FOR ELI MARMUR
                           (1)    x (business) a person at least 18 years of age apparently in charge at the offlce or usual place of business
                                       of the person to be served. I informed him or her of the general nature of the papers.

                           (2)             (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual
                                           place of abode of the party. I informed him or her of the general nature of lhe papers.
                           (J'             (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                                           address of the person to be served, other than a United States Postal Service post office box. I informed
                                           him or her ofthe general nature ofthe papers.
                           (4)        X    Ithereafter mailed (by Iirst-class, postage prepaid) copies of the documents to the person to be served
                                           at the place where the copies were left (Code Civ. Proc., S 415.20). lmailed the documents on
                                           (date):B / 3l /   22  from (c,tri CYPRESS                           or    a declaration of mailing is attached

                           (5)        X    I attach a   declaration of diligence stating actions taken lirst lo attempt personal service

 Form Adopted for Mandatory Use                                                                                     f€-"a]            Code ol C vil Procedure, S 417 10
     .hii.i.l
         Coun.il of Cal'fomia                                    PROOF OF SERVICE OF SUMMONS                     SolutYor-rs
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                                                                                                                    QPlus
             Case 8:22-cv-01790-CJC-KES Document 1 Filed 09/29/22 Page 60 of 67 Page ID #:60


     PLAINTIFF/PETITIONER: GAI                L PARRISH                                                    CASE NUMBER

                                                                                                               30   - 242   2   -0 1 2 t 6 2 3 4 -CU -MC-
DEFENDANT/RESPONDENI:GORDON                         LANE HEALTHCARE, LLC.

                      by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to ihe party, to the
                      address shown in item 4, by first-class mail, postage prepaid,
                      (1) on (dale):                                               (2lfrcm (city):
                      (3)             with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed
                                      lo me. (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., S 415.30.)
                      (4)             to an address outside California with return receipt requested. (Code Civ. Proc., S 415.40.)




                     Additional page describing service is attached
6.   The "Notice to the Person Served" (on the summons) was completed as follows
     a. @ as an individual defendant.
     b        tl      as the person sued under the frctitious name of (specify)
     c        E       as occupant.
     d        E       On behalf of fspecify)r
                      under the following Code of Civil Procedure section:
                                         4'16.10 (corporation)                       E      415.95   (business organization, form unknown)
                                         41 6.20 (defunct corporation)               E      416.60   (minor)
                                         41 6.30 (joint stock company/association)   E      416.70   (ward or conservatee)
                                         41 6.40 (association or partnership)        tI     416.90   (authorized person)
                                         416.50 (public entity)                      E      415.46 (occupant)
                                                                                     E      other:

7.   Person who served papers
     a. Name: TOM BLACK
     b. Address: 6033 RONALD ClRCLE, CYPRESS,                                CA. 90630
     c. Telephone number: 562-597-4088
     d. The fee for service was: $ 65. 00
     e. lam:
             (1)             not a registered California process server.
             (2\             exempt from registration under Business and Professions Code section 22350(b)
             (3)     x       registered California process server
                             (i)          owner            employee      x   independent contractor
                             (ii)    Registration No.: 6089
                             (iii)   County: ORANGE

B        x     I   declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct
               or
9              I am a       California sheriff or marshal and I certify that the foregoing is true and correct.

oate     8/37/22

                         TOM BLACK
         (NAME OF PERSON WHO SERVED PAPERS/STIERIFF OR MARSHAL]                                                     (sl         RE)




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                                                          PROOF OF SERVICE OF SUMMONS
         Case 8:22-cv-01790-CJC-KES Document 1 Filed 09/29/22 Page 61 of 67 Page ID #:61

ATTORNEY OR PARTY IIITHOUI ATTORNEY      lesre   Slale Bat nunbet. and addrcss)                                          FOR CAURT USE ONLY


 STEPHEN           M. GARCIA               SBN 123338
 GARCIA,           ART I GLI ERE
 ONE WORLD TRADE CENTER, SUITE 1950
 LONG BEACH. CA. 90831
          TELEPHoNENo       562-276-521            0
E MA|L AOORESS   ropro.a'
  AITORNEY FOR lName)

  SUPERIOR COURT OF CALIFORNIA, COUNTY                      OF ORANGE
         SIREEI AOORESS     7OO    CIVIC         CENTER DRIVE WEST
        MAILING ADDRESS

        CITYAND ZIP CODE    SANTA ANA, CA. 92101
                     CENTRAL
           BRANCH NAME

         PLAINTIFF/PETITIONER: GAI            L     PARRI SH

   DEFENDANT/RESPONOENT]                 GORDON LANE HEALTHCARE,                    ],L.
                                                                                                           CASE NUMBER

                                                 DECLARATION                                               30-2A22-4121623           4   -CU-MC   CXC



             I am and was on the date herein mentioned, over the age of 18
       years of age and not a party to the action. I received the within
       process on AUGUST 23RD 2A22 and that afLer due and di.Illgent effort,
       I have been unabfe to effect personal service on the within named.
              Name     : ELI       MARMUR
                            3050     SATURN            Sr.,     SUrTE 201
                            BREA, CA.            92 821

                 ATT:       8/23/22 2:15 PM ELI NOT HERE.
                            8/24/22 10:10 AM ELI NOT IN.
                            8/25/22 1:40 PM HE 15 NEVER IN THE OFFICE.
                            8/29/)2 3:00 PM NoT IN.
                            8/30/22 12:45 PM I SERVED THE PAPERS TO ABIGAIL                                       DUNCAN,
                            SHE ACCEPTED FOR E],I MARMUR.




   I   declare under penalty of perjury under the laws of the State of Calitornia that the foregoing is true and correct

   Datet    8/3L/22

                        TOM BLACK
                                 (TYPE OR PRINT NAME)                                                {st        EOFO        RANT)


                                                                                      Attorney for         Plaintiff     Petitioner               Defendant
                                                                                      Respondent           Othet (Specify)


  Form Approved for Oplona Use
  Judoal Council olCahlornra                                                DECLARATION                                       solfr#,, s
  MC{30lRev January 1. 20061                                                                                                        t{   PIu s
      Case Electronically
30-2022-01276234-CU-MC-CXC
                          Filed by Superior Court of California, County of Orange, 09/01/2022 10:55:00 AM.
            8:22-cv-01790-CJC-KES
                                - ROA # 19 -Document       1 Filed 09/29/22
                                             DAVID H. YAMASAKI,                   PageBy
                                                                     Clerk of the Court 62E.ofefilinguser,
                                                                                                67 Page      ID #:62
                                                                                                           Deputy Clerk.
                                                                                                                  POS )1t
  ATTORNEY OR PARTY WTTHOUT ATTORNEY (&ame Stale Bar nuhbet, a.d addGss)                                                 FOR COUR| USE ONLY


 STEI'HEN M. GARCIA SBN 123338
 GARCIA, ARTIGLIERE
 ONE I,,]ORLD TRADE CENTER, SUITE 1950
 LONG BEACH, CA. 90831
        TELEPBoNE No 562-276-521 0
  E MAIL AOORESS lopNo,a/)
     ATToRNEY FoR     /&ane)   PLAINTI FF
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
           STREET ADORESS      7OO       C]VIC CENTER DRIVE             tr,iEST
          MAILING ADDRESS

          CITY ANO ZIP COOE    SANTA ANA, CA               92147
              BRANCH NAME      CENTRA],
      PLAINTIFFi PETITIONER:             GAIl,    PARRI SH                                                CASE NIJMBER


 OEFENDANT/RESPONDENT: GORDON                        LANE HEALTHCARE, LLC.                                3A-2a22 Al2t        623   4   -CU-MC-


                                   PROOF OF SERVICE OF SUMMONS

                                                 (Separate proof of seNice is required for each pafty seNed.)

1.   At the time of service I was at least '18 years of age and not a party to this action.
2.   I served copies of:
     a.        x     summons
     b.        x     complaint
     c.              Alternative Dispute Resolution (ADR) package
     d. [xl          Civil Case Cover Sheet (sevedin complex cases only)
     e               cross-complaint
     f.        x      oth.et (specify documenrrr NOT        I   CE OF REMOTE APPEARANCE; DECLARATlON OF MONICA
                      PARISH AS SUCCESSOR IN INTEREST
3.   a. Party seNed (specity name of pafty as shown on documents serued)iWII,LIAM PRESNEL

     b Tl             Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
                      under item 5b on whom su6stituted service was made) (specify name and relationship to the pafty named in item 3a)



4.    Address where the party was served:              6050      SATURN     ST.. BREA, CA. 92827
5.    I served the pai.y (check proper box)
      a               by personal service. I personally delivered the documents listed in item 2 to the party or person authorized lo
                      receive service ofprocessforthe party (1)on (date):                                    (2\ al (time):
      b        x      by substituted service. On (date):B / 30 / 22 al (time): 12:45 PM I left the documents listed in item 2withor
                      in the presence of (name and title or relationship to person indicated in item 3): ABIGAIL DUNCAN,
                      RECEPTIONIST ACCEPTED FOR WILLIAM PRESNEL
                      (1)x (business) a person at least 18 years of age apparently in charge               at the oflice or usual place of business
                                    of the person to be served. I informed him or her of the general nature of the papers

                      (2)           (home) a competent member of the household (at least l8 years of age) at the dwelling house or usual
                                    place of abode of the party. I informed him or her of the general nature of the papers.
                      (3)           (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                                    address ofthe person to be served, other than a United States Postal Service post offlce box. linformed
                                    him or her ofthe general nature ofthe papers.

                      (4)      X     I thereafter mailed (by flrst-class, postage prepaid) copies of the documents to the person to be served
                                     at the p lace where the copies were left (Code Civ. Proc., S 415.20). I mailed the documents on
                                     (date):8 / 31 /  22    from (city)r cYPRES s                         or E   a declaration of mailing is attached

                      (5)      X     I   attach a declaration of diligence stating actions taken first to attempt personal service

 Forfr Ado9lsd ior Mandatory use                                                                             I'@a)               Code ol C   vi   Procedu.6   S   417 10
   JudLcrai Councrl of Ca lornla                          PROOF OF SERVICE OF SUMMONS                      SolutYons
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                                                                                                              Aflus
             Case 8:22-cv-01790-CJC-KES Document 1 Filed 09/29/22 Page 63 of 67 Page ID #:63


     PLAINTIFF/PETITIONER:             GAIL     PARRI    S H                                             CASE NUMBER

                                                                                                         30   -2022-A t2't    62    34-cu-MC-
 DEFENDANT/RESPONDENT:GORDON                       LANE HEALTHCARE, LLC.

 5.c                 by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the
                     address shown in item 4, by lirslclass mail, postage prepaid,
                     (1) on       (date.):                                        (2) lrcm (city):
                     (3)             with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed
                                     lome. (Attach completed Notice and Acknowledgement of Receipt..) (Code Civ. Proc., S 415.30.)
                     (4)             to an address outside California with return receipt requested. (Code Civ. Proc., S 415.40.)

     d               by other means (specify means of seNice and authoizing code section)




                     Additional page describing service is attached
6.   The "Notice to the Person Served" (on the summons) was completed as follows
     a    x as an individual defendant.
     b               as the person sued under the fictitious name of (specr4/)
     c               as occupanl.
     d               On behalf of (speclfy);
                         under lhe following Code of Civil Procedure section:
                                       4'16.10 (corporation)                               415.95 (business organization, form unknown)
                                        41  6.20 (defunct corporation)                     416.60 (minoo
                                        4'1 6.30 (joint stock company/association)         416.70 (ward or conservatee)
                                        416.40 (association or partnership)                416.90 (authorized person)
                                        416.50 (public entity)                             415.46 (occupant)
                                                                                           other:
7.   Person who served papers
     a. Name: TOM BLACK
     b. Address:          6033       RONALD   CIRCLE, CYPRESS, CA. 90630
     c.      Telephone number:         562-597-4088
     d. The fee      for service      was: $ 65. 00
     e. lam:
              (1)           not a registered California process server.
              (2)           exempt from registralion under Business and Professions Code section 22350(b)
              (3)    x      regislered California process server:
                            (D           owner            emPloyee      x   independent contractor
                            (ii)    Registration No.: 60 8 9
                            (iii)   County: ORANGE

B        X      I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct

                or
                I am a    California sheriff or marshal and I cerlify that the foregoing is true and correct.

Date     8/37/22

                          TOM       BT ACK
         (NAME OF PERSON WHO SERVED PAPERS/SHERIFF      OR MARSHAL)                                            (s   URE   )




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                                                         PROOF OF SERVICE OF SUMMONS
             Case 8:22-cv-01790-CJC-KES Document 1 Filed 09/29/22 Page 64 of 67 Page ID #:64
                                                                                                                                                               c-030
ATTO   R N   EY OR PARTY WITHOUT AT_TORN EY   lNaae   Slale Bat   nunbet   and addrcss)                                                 FOR COURI USE ONLY


 STEPHEN M. GARC]A SBN 123338
 GARCIA. ARTIGLIERE
 ONE IdORID TRADE CENTER, SUlTE 1950
 LONG BEACH, CA. 90831
     TELEPHoNE No: 562-2L6-5214 FAx No. roptuaar.
E MAIL ADoRESS       fophna0
  ATTORNEY FOR fNane)

  SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
             STR€ETAOORESS     7OO    CIVIC           CENTER DRIVE WEST
             MAILING ADDRESS

         ctry   ANo ztP cooE   SANTA ANA,               CA.        921O),
                          CENTRAL
                BRANCH NAME

              PLAINTIFF/PETITIONER: GAI           L      PARRI SH

   DEFENDANT/RESPONDENT: GORDON                               LANE HEALTHCARE, ],L.

                                                                                                                         CASE NUMBER

                                                      OECLARATION                                                        3a-2A22-A72'7 623 4 -CU-MC-CXC


             I am and was on the date herein mentioned, over the age of 18
       years of age and not a party to the action. I received the within
       process on AUGUST 23RD 2022 and that after due and dilligent     effort,
       I have been unable to effect personal service on the within named.
                   Name: WILLIAM               PRESNEL
                               3O5O SATURN ST., SUITE 201
                               BREA, CA.92821

                    ATT:       8/23/22 2:15 PM [iILLIAI4 NOT HERE.
                               8/24/22 10:10 AM WILLIAM NoT IN.
                               8/25/22 1:40 PM HE IS NEVER IN THE OFFICE.
                               8/29/22 3:00 PIY NoT lN.
                               8/3A/22 12..45 PM ] SERVED THE PAPERS TO ABIGAIL                                                 DUNCAN,
                               SHE ACCEPTED FOR WIL],]AM PRESNEI                                .




   I   declare under penalty of perjury under the laws of the State of California that the foregoing is true and correcl

   Date:         B/31/22

                           TOM B],ACK
                                   (TYPE OR PRINT NAME)                                                            {sr         EOFO


                                                                                           fl   Attorney   for E         ptaintir   I      Petitioner   f]   Defendant
                                                                                           f-lRespondent      E          other (spec,fy):


  Form App.oved for Oplona Uso
                                                                                     DECLARATION                                                LPga)
  Jldrcra C@ncr ol Ca lomra                                                                                                                  S olunol ) S'
  MC-030 [Rev Jenuary 1. 2006]                                                                                                                  t1il Plu s
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                          Filed by Superior Court of California, County of Orange, 09/01/2022 10:55:00 AM.
            8:22-cv-01790-CJC-KES
                                - ROA # 17 -Document       1 Filed 09/29/22
                                             DAVID H. YAMASAKI,                   PageBy
                                                                     Clerk of the Court 65E.ofefilinguser,
                                                                                                67 Page      ID #:65
                                                                                                           Deputy Clerk.

 ATToRNEY OR PARry WIHOUTATTORNEY /Name, Slale Bar nunbet, ahd addrcss)                                                  FOR COWT USE ONLY


STEPHEN            M. GARCIA               SBN 123338
GARCIA, ARTl GI,l                  ERE
ONE WORLD TRADE CENTER.                             SUITE 1950
LONG BEACH, CA. 90831
     rELEpr-roNE No 5 62-2L6- 52'l                  0        FAx   No /op[o,a,
 E MAIL AD0RESS (OplDrar:
     AT-ToRNEY FoR /Name)r   PLAINT I FF
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
          STREET ADDRESS     ?OO         C]VIC    CENTER DRIVE WEST
          MAILING AOORESS
         CIry ANO ZIP CODE   SANTA ANA,             CA.    921Q7
             SRANCH NA[,IE   CENTRAL
      PLAINTIFF/PETITIONER:              GAII,   PARRISH                                                  CASE NUMBER.


DEFENDANT/RESPONDENT: GORDON                         LANE HEALTHCARE, LIC.                                30 2A22-0721623        4   -CU-MC-


                                   PROOF OF SERVICE OF SUMMONS

                                                 (Separate proof of seNice is required for each party seNed.)

1.   At the time of service I was at least 18 years of age and not a party to this action.
2.   I   served copies of:
     a.     B       summons
     b.     @       complaint
     c.     E       Afternative Dispute Resolution (ADR) package
     d.     [x ]    Civil Case Cover Sheet (served in complex cases only)
     e.     f__-l   cross-complaint
     f.     p       other    (sp   ecify documents):NoT I    CE OF REMOTE APPEARANCE; DECI,ARATION OF MONICA
                    PARISH AS SUCCESSOR                     ]N      ]NTEREST
3.   a. Party served (spectfy name of pafty as shown on documents seNed):SUN MAR MANAGEMENT SERVICES

     b [xl          Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
                    under item 5b on whom substituted service was made) (specify name and relationship to the pady named in item 3a)
          ABIGAI], DUNCAN, AUTHORIZED                          PERSON TO ACCEPT SERVICE

4.   Address where the party was served:                6050   SATURN            ST., BREA, CA. 92827
5.   I served the pany @heck proper box)
     a        X     by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                    receive service of process for the parly (1) on (date):8 / 30 / 22                     (2\at(time):12:45 PM
     b              by substituted service. On (date):                   al (time):                  I left the documents listed in item 2 with or
                    in the presence of (name and title or relationship to person indicated in item 3):

                    (1)             (business) a person at least 18 years of age apparently in charge at the offlce or usual place of business
                                    of the person to be served. I informed him or her of the general nature of the papers.

                    (2\              (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual
                                     place of abode of the party. I informed him or her of the general nature of the papers.
                    (3)              (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                                     address of the person to be served, other than a United States Postal Service post office box. I informed
                                     him or her of the general nature of the papers.

                    (4)              I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served
                                     at the place where the copies were lefr (Code Civ. Proc., S 415.20). I mailed the documents on
                                     (date)                 lrcm (city)                                   or     a declaration of mailing is attached

                    (5)              I attach a declaration of diligence stating actions taken first to attempt personal service

Fo.m Adopled lor Mendatory use
                                                          PROOF OF SERVICE OF SUMMONS
                                                                                                             l€sal              Code ol Civil Procedlre, S 417   l0
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                                                                                                             G.Phrs
             Case 8:22-cv-01790-CJC-KES Document 1 Filed 09/29/22 Page 66 of 67 Page ID #:66


     PLAINTIFF/PETITIONER: GAI                      L      PARRI SH                                              CASE NUMBER

                                                                                                                 30   -242 2-01 2 t 6234-CU-MC-
DEFENDANT/RESPONDENI:GORDON                                   LANE HEALTHCARE, LLC.

5.c                           by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the
                              address shown in item 4, by first-class mail, postage prepaid,
                              ('l)   on   (date):                                         (2) fiom (city):
                              (3)            with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed
                                             lo me. (Aftach compleled Notice and Acknowledgement of Receipt.) (Code Civ. Proc.,       S 415.30.)
                              (4)            to an address outside California with return receipt requested. (Code Civ. Proc., S 415.40.)

     d                        by other means (specify means of seNice and authotizing code section)




                             Additional page describing service is attached
6.   The "Notice to the Person Served" (on the summons) was completed as follows
     a          as an individual defendant.
     b                        as the person sued under the lictitious name of (speclty)l
                              as occupant.
     d            x           On behalf of (spec,fy);        SUN MAR MANAGEMENT SERVICES
                              under the following Code of Civil Procedure sectionl
                                                416.10     (corporation)                      x    415.95 (business organization, form unknown)
                                                41 6.20    (defunct corporation)                   4'16.60 (mino0
                                                4'l 6.30   0oint stock company/association)        4'16.70 (ward or conservatee)
                                                41 6.40    (association or partnership)            4'1 6.90 (authorized person)

                                                416.50     (public entity)                         4'15.46 (occupant)
                                                                                                   other:

7.   Person who served papers
     a. Name: TOM BLACK
     b. Address:  6033 RONALD CIRCLE, CYPRESS, CA. 90630
     c. Telephone number: 562-597-4088
     d. The fee for service was: $ 65.00
     e.      I   am:
                 (1)                 not a regislered California process server.
                 (2)                 exempt from registration under Business and Professions Code section 22350(b)
                 (3)         x       registered California process server:
                                     0           owner          I employee         E
                                                                                 independent contractor
                                     (ii) Registration No.: 60 8 9
                                     (iii)   County; ORANGE

8        x             I   declare under penalty of perlury under the laws of the State of California that the foregoing is true and correct
                   or
I                      I   am a California sheriff or marshal and I certify that the foregoing is true and correct.

Date.B/3L/22

                                 TOM BLACK
          INAMF OF PERSON WHO SERVED PAPFRS/SHERIFF OR MARSHAI I                                                        IGNAT   RE)




POS410 lR€v Janlary 1            20071
                                                                     PROOF OF SERVICE OF SUMMONS
                                        Case 8:22-cv-01790-CJC-KES Document 1 Filed 09/29/22 Page 67 of 67 Page ID #:67



                                                                               PROOF OF SERVICE
                                       1                                     (Sections 1013A(3) C.C.P.)
                                       2
                                           STATE OF CALIFORNIA                  )
                                       3                                        ) ss.
                                           COUNTY OF LOS ANGELES                )
                                       4
                                                  I am employed in the County of Los Angeles, State of California. I am over the age of 18
                                       5
                                           and not a party to the within action.
                                       6
                                               My business address is PETRULLO APC, 222 N. Sepulveda Blvd., Ste. 1690, El
                                       7 Segundo, CA 90245.

                                       8          On September 29, 2022 I served the foregoing document described as: NOTICE OF
                                       9 REMOVAL OF CIVIL ACTION TO UNITED STATES DISTRICT COURT
                                         UNDER THE CLASS ACTION FAIRNESS ACTon the interested parties in this
                                      10 action as follows:

                                      11
                                                  Garcia & Artigliere
                                      12          Stephen M. Garcia, Esq.
                                                  One World Trade Center, Ste. 1950
                                      13          Long Beach, CA 90831
            CORPORATE TRIAL LAWYERS
PETRULLO, APC




                                                  edocs@lawgarcia.com
 EL SEGUNDO




                                      14

                                      15
                                         [X] (BY ELECTRONIC MAIL) On the above-referenced interested parties in accordance
                                      16    with the telephonic consent to electronic service of said interested parties. I transmitted, by
                                            electronic mail, the above referenced document to the above-referenced interested parties, at
                                      17    which said parties consented to accept electronic service. The transmission indicated that it
                                            was sent without error. I caused said document(s) to be sent via electronic mail to the email
                                      18    addressee(s) listed above from my email address: maindesk@petrullolaw.com.

                                      19
                                                  Executed on September 29, 2022, at El Segundo, California.
                                      20
                                         (By California law) I declare under penalty of perjury under the laws of the State of California
                                      21 that the above is true and correct.
                                                                                             Monzerrat Villarreal /s/
                                      22
                                                                                             Monzerrat Villarreal
                                      23

                                      24

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                                              NOTICE OF REMOVAL OF CIVIL ACTION TO UNITED STATES DISTRICT COURT
                                                            UNDER THE CLASS ACTION FAIRNESS ACT
